Case: 4:18-cv-01576-DDN Doc. #: 111 Filed: 05/10/21 Page: 1 of 6 PageID #: 3842




                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

MARIO ORTEGA,                                          )
                                                       )
        Plaintiff,                                     )
                                                       )
v.                                                     )       No. 4:18-cv-1576-DDN
                                                       )
CITY OF ST. LOUIS, etc., et al.,                       )
                                                       )
        Defendants.                                    )

     REPLY IN SUPPORT OF MOTION TO DISMISS THIRD AMENDED COMPLAINT

        Plaintiff's memorandum in opposition to defendants' motion to dismiss the third amended

complaint [ECF 106, 108-1] necessitates a brief response.

        1.      The exhibits to the earlier complaints can and should be considered by the

Court on the motion to dismiss, given the issue of qualified immunity.

        Plaintiff argues that the exhibits that he helpfully injected into the record through the

earlier versions of his complaint should be disregarded. This is incorrect for two reasons: first,

Jones v. City of Cincinnati, 521 F.3d 555 (6th Cir. 2008), and similar cases are obsolete in light

of the pleading standard enunciated in Ashcroft v. Iqbal, 556 U.S. 662 (2009) and Bell Atlantic

Corp. v. Twombly, 550 U.S. 544 (2007). Because the issue of qualified immunity is to be

resolved at the earliest possible stage of §1983 litigation, see, e.g., Dillard v. O'Kelley, 961 F.3d

1048, 1052 (8th Cir. 2020)(en banc), cert. denied, 141 S.Ct. 1071 (2021), it behooves the Court

to examine the entire record at this stage, and not just the conclusory allegations of the third

amended complaint, in determining if plaintiff has pleaded a plausible claim against all

defendants..
Case: 4:18-cv-01576-DDN Doc. #: 111 Filed: 05/10/21 Page: 2 of 6 PageID #: 3843




       2.      The probable cause or arguable probable cause issue cannot be resolved by

considering only the apparent conduct of plaintiff and other members of the crowd during

the time immediately preceding the mass arrest; rather, the totality of the circumstances,

including the crowd's behavior earlier in the evening and the eruption of violence from

similar crowds on preceding nights, must be considered.

       Plaintiff insists that the issue of probable cause or arguable probable cause turns on the

video and other evidence of crowd behavior at and immediately before the police closed in. ECF

108-1, pp. 10-11. That is contrary to the law. Lt. Col. Leyshock and Lt. Sachs could and did

take into account the behavior of the crowd earlier in the evening, reports of threats against

police at Locust and Tucker, the failure of the crowd to disperse despite repeated orders earlier,

and the continued presence of masked and goggled persons in the crowd.

       The other defendants likewise could consider all that they had observed during the

evening of September 17, as well as the reasonable likelihood that Lt. Col. Leyshock and Lt.

Sachs were in possession of additional information warranting the mass arrest. Finally, just as

plaintiff argues that all defendants could and did observe the arrest and macing of the crowd, so,

too, all defendants could and did observe the failure to disperse after repeated commands.

       3.      The weight of authority counsels that this Court apply qualified immunity to

the intracorporate conspiracy claim of plaintiff.

       While this Court has refused to consider the intracorporate conspiracy doctrine in

deciding a motion to dismiss--a refusal that defendants respectfully argue is contrary to

F.R.Civ.P. 12(b)(6)--there is no principled reason not to consider the application of qualified

immunity against plaintiff's conspiracy claim. The parties have fully addressed this facet of the

intracorporate conspiracy issue, and defendants will content themselves with observing that



                                                 2
Case: 4:18-cv-01576-DDN Doc. #: 111 Filed: 05/10/21 Page: 3 of 6 PageID #: 3844




Chief Judge Sippel has reiterated his holding that qualified immunity defeats a §1983 conspiracy

claim. Franklin v. Saint Louis Cty., No. 4:20 CV 1134 RWS, 2021 U.S. Dist. LEXIS 53761

(E.D. Mo. Mar. 22, 2021).

       4.      Plaintiff's municipal liability theories against defendant City are untenable in

light of the opinion of the Court of Appeals in Ahmad v. City of St. Louis.

       Plaintiff relies heavily on the district court's findings on a motion for preliminary

injunction in Ahmad v. City of St. Louis. However, the rationale of the district court concerning

municipal liability in Ahmad has been seriously undermined by the opinion of the Court of

Appeals on appeal from the district court's orders refusing to dissolve the preliminary injunction

and certifying a class. Ahmad v. City of St. Louis, 2021 U.S. App. LEXIS 12409, 2021 WL

1619496 (8th Cir. Apr. 27, 2021). While affirming denial of a motion to dissolve the preliminary

injunction but vacating the class certification order, the Court of Appeals declared:

                Plaintiffs seek permanent injunctive relief against the City based on its alleged
       custom and practice and its failure to train and supervise police officers. Regarding the
       custom and practice claim, plaintiffs do not allege that the municipal ordinances being
       enforced during the September 2017 protests are constitutionally invalid. But a "showing
       at trial of a relatively few instances of violations by individual police officers, without
       any showing of a deliberate policy on behalf of [the City, would] not provide a basis for
       equitable relief." . . . Rather, "where the claim is that municipal action lawful on its face
       caused an employee to inflict constitutional injury, 'rigorous standards of culpability and
       causation must be applied to ensure that the municipality is not held liable solely for the
       actions of its employees.'" S.M. v. Lincoln Cty., 874 F.3d 581, 585 (8th Cir. 2017),
       quoting Bd. of Cty. Comm'rs v. Brown, 520 U.S. 397, 405, 117 S. Ct. 1382, 137 L. Ed. 2d
       626 (1997). To prevail on this claim, plaintiffs "must show that [their] alleged injury was
       caused by municipal employees engaging in a widespread and persistent pattern of
       unconstitutional misconduct, that municipal policymakers were either deliberately
       indifferent to or tacitly authorized." Davis v. White, 794 F.3d 1008, 1014 (8th Cir. 2015);
       see Szabla v. City of Brooklyn Park, Mn. 486 F.3d 385, 389-90 (8th Cir. 2007) (en banc);
       Thomas v. Cty. of Los Angeles, 978 F.2d 504, 509 (9th Cir. 1992) ("plaintiffs' eventual
       burden in obtaining a permanent injunction against a state law enforcement agency is to
       establish more than repeated incidents of misconduct").

               Plaintiffs' burden in proving their municipal failure to train and supervise claim is
       no less rigorous. "'Section 1983 liability cannot attach to a supervisor merely because a

                                                 3
Case: 4:18-cv-01576-DDN Doc. #: 111 Filed: 05/10/21 Page: 4 of 6 PageID #: 3845




        subordinate violated someone's constitutional rights.' . . . [T]o maintain an action for
        training or supervisory liability, a plaintiff must show the failure to train or supervise
        caused the injury.'" Johnson v. City of Ferguson, Mo., 926 F.3d 504, 506 (8th Cir. 2019)
        (en banc); see City of Canton v. Harris, 489 U.S. 378, 389-92, 109 S. Ct. 1197, 103 L.
        Ed. 2d 412 (1989). Given these rigorous § 1983 burdens of proof, the evidence at the
        preliminary injunction hearing relating to the events of September 2017, while relevant
        and sufficient to persuade the court to grant a preliminary injunction pendente lite, will
        not be sufficient to warrant permanent injunctive relief imposing the same levels of
        indefinite federal court control over the City's law enforcement responsibilities. As Judge
        Posner recently reminded Seventh Circuit district judges, "[t]he era of micromanagement
        of government functions by the federal courts is over." Chicago United Ind., 445 F.3d at
        947. [Emphasis added.]

        To be sure, plaintiff here seeks damages, but his municipal liability theory is lifted almost

bodily from the district court's opinion in Ahmad. 3rd am. complaint [ECF 100-1, ¶¶27, 38,

203c-203e; ECF 37, at ¶125.] It is evident from the opinion of the Court of Appeals that the

sporadic, unconnected incidents of use of pepper spray by City police in the past is insufficient to

fasten municipal liability under §1983 on the City, and that Judge Clark's analysis of municipal

liability in Burbridge v. City of St. Louis, 430 F.Supp.3d 595 (E.D.Mo. 2019) is correct.

        More importantly, plaintiff alleges no prior incidents of use of mace or tight handcuffing

(or "zip-tying") in mass arrest situations sufficient to give rise to an inference of a persistent,

widespread practice having the force of law. The third amended complaint is particularly

deficient in regard to the handcuffing claim. Plaintiff's allegations of some sort of "custom" or

practice of unconstitutionally painful handcuffing fail to allege any prior pattern of incidents of

unconstitutionally painful handcuffing--mass arrest or no. As a matter of law, painful

handcuffing in connection with an arrest simply is not an actionable constitutional violation.

Robinson v. Hawkins, 937 F.3d 1128 (8th Cir. 2019); cf. Szabla v. City of Brooklyn Park, 486

F.3d 385, 393 (8th Cir. 2007)(en banc)(discussing need for "clarity of municipal obligation" in

determining viability of a failure to train theory). It does not matter even if the arrest itself is

illegal. Plaintiff's argument regarding the use of handcuffs is entirely meritless, if not frivolous.

                                                    4
Case: 4:18-cv-01576-DDN Doc. #: 111 Filed: 05/10/21 Page: 5 of 6 PageID #: 3846




The use of force on an arrestee whose arrest is unlawful is not per se excessive force. See

Habiger v. City of Fargo, 80 F.3d 289, 298 & n. 8 (8th Cir. 1996)(per White, J.). Certainly

handcuffing, without significant injury, is not excessive force as a matter of law, regardless of

the legality of the arrest. Even if plaintiff's arrest was unlawful, he alleges that only defendant

Thacker painfully "zip-tied" him, and defendant Walsh tightened the "zip cuffs" further. ECF

108-1, ¶¶160, 164. Such de minimis use of force is hardly a constitutional violation; nor would

any defendant be plainly incompetent to take the routine precaution of handcuffing an arrestee in

a chaotic situation. Cf. Waters v. Madson, 921 F.3d 725 (8th Cir. 2019)(discussing use of

handcuffs as a means to protect officer, among other things). Further, other than defendants

Thacker and Walsh, no other defendant is alleged to have been aware of plaintiff's pain or in a

position to intervene.

       Plaintiff recognizes the weakness of his municipal liability argument when he attempts to

conflate allegations about the mass arrest with a vague, generic "custom of unconstitutional

arrest." ECF 108-1, p. 24. However, the allegations of the third amended complaint are wholly

insufficient to give rise to municipal liability premised on any such "custom." Plaintiff's

complaint, ECF 100-1 at ¶203, is bereft of allegations showing any "custom" of macing in

connection with arrests that was a "moving force" in his arrest or alleged mistreatment. He

alleges only boilerplate, conclusory claims that the City police customarily use excessive force.

E.g., ECF 100-1, ¶¶203.

                                            Conclusion

       For the foregoing reasons, and the reasons set for in the previous memorandum, the third

amended complaint should be dismissed with prejudice (or without prejudice as to count XI).

                                              Respectfully submitted,
                                              MATT MOAK

                                                  5
Case: 4:18-cv-01576-DDN Doc. #: 111 Filed: 05/10/21 Page: 6 of 6 PageID #: 3847




                                    ACTING CITY COUNSELOR
                                         /s/ Robert H. Dierker 23671(MO)
                                         dierkerr@stlouis-mo.gov
                                         Brandon Laird 65564(MO)
                                         Abby Duncan 67766(MO)
                                         Associate City Counselors
                                         Adriano Martinez 69214(MO)
                                         Catherine A. Dierker 70025(MO)
                                         Assistant City Counselors
                                         1200 Market St.
                                         City Hall, Rm 314
                                         St. Louis, MO 63103
                                         314-622-3361
                                         Fax 314-622-4956

                                    ATTORNEYS FOR DEFENDANTS




                                       6
